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                EXHIBIT E
      Case No. 21-CV-0817-TSZ

          (Exhibit E to Mann Declaration)
                 RE: Bungie, Inc. v. AimJunkies.com, et al., No. 2:21-cv-811-TSZ - Depositions (Hahn and Green)
                              Case 2:21-cv-00811-TSZ Document 123-6 Filed 05/01/23 Page 2 of 2

         Subject: RE: Bungie, Inc. v. AimJunkies.com, et al., No. 2:21-cv-811-TSZ -
         Depositions (Hahn and Green)
         From: "Marcelo, Christian W. (SEA)" <CMarcelo@perkinscoie.com>
         Date: 9/26/22, 5:00 PM
         To: Phil Mann <phil@mannlawgroup.com>
         CC: "Rava, William C. (SEA)" <WRava@perkinscoie.com>, "Dini, Jacob (SEA)"
         <JDini@perkinscoie.com>

         Phil,

         Saw your earlier email, hope you feel be�er soon.

         Following up on deposi�on availability as well. In addi�on to Mr. Green and Mr. Hahn, will you please provide each of
         the Defendants’ availability for deposi�ons in the next three weeks?

         We also think in the interest of eﬃciency, the par�es should agree to combine the arbitra�on and li�ga�on
         deposi�ons of the par�es. We believe we can keep each of Defendants/Respondents deposi�ons to one day that way,
         without the need to do repe��ve deposi�ons. Let us know if Defendants agree.

         Best,

         Chris�an

         Christian Marcelo | Perkins Coie LLP
         D. +1.206.359.3315


         From: Marcelo, Chris�an W. (SEA)
         Sent: Wednesday, September 21, 2022 10:23 AM
         To: Phil Mann <phil@mannlawgroup.com>
         Cc: Rava, William C. (SEA) <WRava@perkinscoie.com>; Dini, Jacob (SEA) <JDini@perkinscoie.com>
         Subject: Bungie, Inc. v. AimJunkies.com, et al., No. 2:21-cv-811-TSZ - Deposi�ons (Hahn and Green)

         Phil,

         We’re planning to send out no�ce of deposi�ons of Mr. Green and Mr. Hahn (who we understand you currently
         represent) shortly. Please let us know a few dates in the next few weeks they are available.

         Thank you,

         Chris�an

         Christian Marcelo | Perkins Coie LLP
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1 of 1                                                                                                                  12/29/22, 10:54 AM
